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8                                  UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
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                                      SAN FRANCISCO DIVISION
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                                                 MDL NO. 2843
11   IN RE: FACEBOOK, INC. CONSUMER
     PRIVACY USER PROFILE LITIGATION,            CASE NO. 3:18-MD-02843-VC-JSC
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                                                 HON. VINCE CHHABRIA
     This document relates to:                   HON. JACQUELINE SCOTT CORLEY
14                                               COURTROOM 4 – 17TH FLOOR
     ALL ACTIONS                                 SPECIAL MASTER, DANIEL GARRIE, ESQ.
15
                                                 ORDER DENYING RECONSIDERATION
16
                                                 OF ORDER REGARDING PLAINTIFFS’
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                                                 MOTION TO COMPEL ADDITIONAL
                                                 PRODUCTION RELATED TO
18                                               “FACEBOOK SECRET SAUCE” REPORT

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       ORDER DENYING RECONSIDERATION OF ORDER REGARDING PLAINTIFFS’ MOTION TO
      COMPEL ADDITIONAL PRODUCTION RELATED TO “FACEBOOK SECRET SAUCE” REPORT
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                                                      ORDER
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2             Facebook’s Motion for Reconsideration of the Order Regarding Plaintiffs’ Motion to Compel

3    Additional Production Related to “Facebook Secret Sauce” Report is denied. Facebook offers no new

4    evidence to support reconsideration of the Special Master’s findings that Facebook caused Plaintiffs’
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     delay in seeking communications about the memo and Facebook has been obligated to produce
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     communications related to the memo outside of its review set based on RFP 57.
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              Facebook’s argument that these findings are based on arguments Plaintiffs raised for the first
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     time on reply is not persuasive. The Special Master finds that the Plaintiffs raised the issue of
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10   Facebook’s delay and lack of responsiveness in their opening brief and also identified RFP 57, among

11   other RFPs, as an RFP to which communications related to the memo are responsive in their opening
12   brief.
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              Facebook does not provide additional evidence to support reconsideration of the finding that
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     Facebook’s delay and lack of responsiveness caused the failure to meet and confer. Facebook does not
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     deny that it did not respond to the Plaintiffs’ letter of September 25, 2021, seeking additional
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     production based on the memo. Facebook’s argument that Facebook should not be compelled to

18   produce relevant communications related to the memo because Plaintiffs did not raise the issue in

19   subsequent discussions after Facebook failed to respond to the September 25, 2021 letter is not
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     persuasive because Plaintiffs had already raised the issue to Facebook and Facebook did not respond.
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              The Special Master finds that the Federal Rules impose on Facebook the affirmative obligation
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     to search for documents responsive to Plaintiffs’ document requests. See, e.g., Banas v. Volcano Corp.,
23
     2013 WL 5513246 (N.D. Cal. October 4, 2013) (the Federal Rules “obligate a party to produce
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25   ‘discovery regarding any nonprivileged matter that is relevant to any party’s claim or defense’”); 1 Fed.

26   R. Civ. P., Rules and Commentary, Rule 34 (“A party must take reasonable and appropriate steps to

27   search its records and produce all responsive documents or things.”). As established by the evidence
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     referenced in Plaintiffs’ opening brief, and as Facebook does not contest, the Report is plainly relevant.
       ORDER DENYING RECONSIDERATION OF ORDER REGARDING PLAINTIFFS’ MOTION TO
      COMPEL ADDITIONAL PRODUCTION RELATED TO “FACEBOOK SECRET SAUCE” REPORT
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     The Special Master also notes that the Secret Sauce Report refers to itself as the “result of numerous
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2    discussions.” Mot. Ex. A at 1. The Special Master finds, by extension, the “numerous discussions”

3    about how the content in the Report was developed are also relevant. Facebook always had the

4    affirmative obligation to conduct a reasonable inquiry into documents concerning such discussions.
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            For the forgoing reasons the Special Master respectfully denies Facebook’s motion for
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     reconsideration.
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10   IT IS SO ORDERED.

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     February 10, 2022                                    ____________________________
12                                                        Daniel Garrie
                                                          Discovery Special Master
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       ORDER DENYING RECONSIDERATION OF ORDER REGARDING PLAINTIFFS’ MOTION TO
      COMPEL ADDITIONAL PRODUCTION RELATED TO “FACEBOOK SECRET SAUCE” REPORT
